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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:13CR106
                                             )
       vs.                                   )                   ORDER
                                             )
RUSSELL GLENN PIERCE,                        )
                                             )
                     Defendant.              )

       This matter is before the court on the motion of defendant Russell Glenn Pierce
(Pierce) for an extension of time to file pretrial motions (Filing No. 158). Pierce seeks an
extension of the pretrial motion deadline, i.e., March 15, 2014, to April 21, 2014. Pierce
bases his motion on a yet to be produced forensic report. Pierce is included in an omnibus
suppression hearing on April 17, 2014, along with numerous other defendants. Counsel for
the government opposes the motion. Pierce’s motion will be granted to the extent any such
motion will be based upon the forensic report yet to be produced, otherwise, the motion is
denied.


       IT IS SO ORDERED.


       DATED this 26th day of February, 2014.


                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
